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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  STEPHANIE THOMPSON,

                        Plaintiff,

  GLOBAL CONTACT SERVICES, LLC,                 ORDER
  EUGENE OHEMENG, FRANK CAMP,                   20-CV-651-MKB-SJB
  ANTOINETTE CURRIE, and JAMIE
  HOFFMAN,

                        Defendants.

 BULSARA, United States Magistrate Judge:

          Plaintiff has moved to compel Defendants to respond to interrogatories and

 document requests, and to compel Defendants to provide dates for depositions. (Mot. to

 Compel dated Aug. 20, 2020 (“Mot.”), Dkt. No. 21). Defendants have largely objected to

 the interrogatories and document requests on the grounds that a class or collective

 action has not been certified, and they “vehemently maintain[ ]” that a collective and

 class will never be certified. (Opp’n to Mot. dated Aug. 24, 2020 (“Opp’n”), Dkt. No. 23,

 at 4).

          Following the Supreme Court’s pronouncement in Wal-Mart Stores, Inc. v.

 Dukes that the “‘rigorous analysis’” necessary for certifying a class “will entail some

 overlap with the merits of the plaintiff’s underlying claim,” 564 U.S. 338, 351 (2011)

 (quoting Gen. Telephone Co. v. Falcon, 457 U.S. 147, 161 (1982)), “courts are reluctant to

 bifurcate class-related discovery from discovery on the merits.” Chen-Oster v.

 Goldman, Sachs & Co., 285 F.R.D. 294, 300 (S.D.N.Y. 2012) (collecting cases).

          Plaintiff’s motion makes it appear that Defendants have refused entirely to

 provide class or collective-action discovery. (Mot. at 1 (“During the Meet and Confer,

 Defendants’ counsel . . . noted that it was Defendants[’] belief that class discovery was
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 not appropriate at this time as a class had not been certified.”)). Defendants’ papers,

 however, indicate that discovery should be limited to “certification” and “broad-based

 discovery” should be denied as premature. (Opp’n at 4). The Court cannot decipher the

 lines either side is drawing in this regard. It is quite obvious, in light of Wal-Mart, that

 a blanket refusal to provide class and collective discovery would be inappropriate;

 however, Defendants appear not to be drawing that line, as Plaintiff suggests. Yet, the

 distinction between “certification discovery” and “broad-based discovery” is as

 standardless as it inscrutable. Because Plaintiff fails to either appreciate the actual

 position being taken by Defendants, and Defendants’ position is both impossible to

 understand or justify, the parties are directed to meet and confer about these issues.

 The parties should endeavor to identify with specificity the issues in dispute and avoid,

 in any future motion practice, speaking with broad generalities. The motion is denied

 without prejudice to renewal.

        It appears that both sides have engaged in improper discovery practice. They

 have provided discovery responses that are inconsistent with the Federal Rules of Civil

 Procedure. “[R]esponses to discovery requests must: State grounds for objections with

 specificity; An objection must state whether any responsive materials are being withheld

 on the basis of that objection; and [s]pecify the time for production and, if a rolling

 production, when production will begin and when it will be concluded.” Fischer v.

 Forrest, No. 14-CV-1304, 2017 WL 773694, at *1 (S.D.N.Y. Feb. 28, 2017). First, with

 respect to the objections, “[a]n objection must state whether any responsive materials

 are being withheld on the basis of that objection.” Fed. R. Civ. P. 34(b)(2)(C) (emphasis

 added). Nothing is said by either party as to whether responsive documents exist; for

 each objection, both sides have also not indicated if any documents are being withheld


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 on the basis of that objection. (E.g., GCS Defs.’ Resps. and Objections to Pls.’ First Set

 of Doc. Requests dated June 15, 2020 (“Defs.’ Resps. to Doc. Requests”), attached as Ex.

 E to Aff. of C.K. Lee dated Aug. 20, 2020, Dkt. No. 21; Pl. Stephanie Thompson’s

 Objections and Resps. to Defs.’ First Request for the Produc. of Docs. dated July 3, 2020

 (“Pl.’s Resp. to Doc. Requests”), attached as Ex. E to Opp’n, Dkt. No. 23).

        Second, the objection that a request is “vague, ambiguous, and overbroad,” is

 vacuous boilerplate. Fischer, 2017 WL 773694, at *3 (“[T]he responses to requests 1-2

 stating that the requests are ‘overly broad and unduly burdensome’ is meaningless

 boilerplate. Why is it burdensome? How is it overly broad? This language tells the

 Court nothing.”); Mancia v. Mayflower Textile Servs. Co., 253 F.R.D. 354, 358 (D. Md.

 2008) (“[B]oilerplate objections that a request for discovery is ‘overboard and unduly

 burdensome . . . ’ persist despite a litany of decisions from courts, including this one,

 that such objections are improper unless based on particularized facts.” (citation

 omitted) (collecting cases)). It neither helps the Court understand what about the

 request is vague or ambiguous or overbroad.

        Third, each side’s discovery responses begin with a long recitation of general

 objections. (E.g., Defs.’ Resps. to Doc. Requests at 2–5; Pl.’s Resp. to Doc. Requests at

 1–3). The 2015 Amendments to the Federal Rules of Civil Procedure no longer permit

 global, generalized objections to each request. Fed. R. Civ. P. 34(b)(2)(B). Fourth,

 several of Defendants’ responses indicate objections on the basis of the “subject matter

 of the litigation.” (See, e.g., Defs.’ Resps. to Doc. Requests at 3–22, 25). “The December

 1, 2015 amendment to Rule 26(b)(1) limits discovery to material ‘relevant to any party’s

 claim or defense[.]’” Fischer, 2017 WL 773694, at *3 (quoting Fed. R. Civ. P. 26(b)(1)).




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 The phraseology “subject matter of the litigation” is not only outdated but

 misapprehends the scope of a party’s discovery obligations.

        Should either party move to compel discovery in the future, the Court will

 disregard and overrule all objections and responses by the non-moving party that fail to

 adhere to the 2015 Amendments to the Federal Rules of Civil Procedure. E.g., UMG

 Recordings, Inc. v. Grande Commc’ns Networks, LLC, No. A-17-CA-365, 2017 WL

 8939954, at *2 (W.D. Tex. Oct. 27, 2017) (“The not-so-recent 2015 amendments to the

 discovery rules expressly disallowed general objections, requiring instead that responses

 be individualized, and ‘state with specificity the grounds for objecting to [each] request.’

 Fed R. Civ. P. 34(b)(2)(B). Because Defendants’ general objections fail to do so, they are

 ineffectual, and the Court thus STRIKES the General Objections.”).

        Separately, Defendants have moved to compel responses to various

 interrogatories and document requests. (Opp’n at 1–2). Much of the motion is moot.

 Plaintiff has agreed to provide supplemental interrogatory and document responses.

 (Opp’n to Cross-Mot. to Compel Disc. dated Nov. 4, 2020, Dkt. No. 31, at 1–2).

 Plaintiff’s sole remaining objection is the timeframe of the requested documents. (Id. at

 2–3). Plaintiff’s objection is sustained; since Plaintiff’s duty to mitigate damages was

 only triggered as of the date of her employment with Defendants and after, the time

 frame for the requests at issue is so limited.


                                          SO ORDERED.


                                          /s/ Sanket J. Bulsara December 15, 2020
                                          SANKET J. BULSARA
                                          United States Magistrate Judge

 Brooklyn, New York


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